 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION

JESSICA HICKLIN,

Plaintiff,
Case No. 4:16-CV-01357-NCC

GEORGE LOMBARDI,
et al.,

Defendants.

 

DECLARATION OF DR. RANDI C. ETTNER

1. I, Dr. Randi C. Ettner, am a clinical and forensic psychologist with expertise
concerning the diagnosis and treatment of gender dysphoria.

2. I have been retained by counsel for Jessica Hicklin (“Ms. Hicklin’”’) to provide the
Court with scientific information about gender dysphoria and the standard of care for treatment,
and to perform a clinical evaluation of Jessica Hicklin. Except where noted, I have actual
knowledge of the matters herein and could and would testify if called as a witness.

Qualifications and Basis of Opinion

3. I received my doctorate in psychology from Northwestern University in 1979, I
have been the chief psychologist at the Chicago Gender Center since 2005, which specializes in
the treatment of individuals with gender dysphoria. I have been involved in the treatment of
patients with gender dysphoria since 1977, when I was at intern at Cook County Hospital in
Chicago.

4. During the course of my career, I have evaluated and/or treated between 2,500

and 3,000 individuals with gender dysphoria and mental health issues related to gender variance.

1

 
5. I have published four books related to the treatment of individuals with gender
dysphoria, including the medical text entitled Principles of Transgender Medicine and Surgery
(Ettner, Monstrey & Eyler, 2007) and the second edition (Ettner, Monstrey & Coleman, 2016).
In addition, I have authored numerous articles in peer-reviewed journals regarding the provision
of care to this population. I serve as a member of the editorial boards for the International
Journal of Transgenderism and Transgender Health.

6. I am the Secretary and member of the Executive Board of Directors of the World
Professional Association for Transgender Health (““WPATH”) (formerly the Harry Benjamin
Gender Dysphoria Association) and an author of the WPATH Standards of Care for the Health of
Transsexual, Transgender and Gender-nonconforming People, 7" version, published in 2012.
The WPATH promulgated Standards of Care (“Standards of Care’) are the internationally
recognized guidelines for the treatment of persons with gender dysphoria and serve to inform
medical treatment in the United States and throughout the world.

7. I have lectured throughout North America, Europe, and Asia on topics related to
gender dysphoria, and on numerous occasions I have presented grand rounds on gender
dysphoria at medical hospitals. I am an honoree of the Randi and Fred Ettner Fellowship in
Transgender Health at the University of Minnesota, and have been an invited guest at the
National Institutes of Health to participate in developing a strategic research plan to advance the
health of sexual and gender minorities.

8. I have been retained as an expert regarding gender dysphoria and its treatment in
multiple federal court proceedings involving the treatment of gender dysphoria in prison settings,
and have repeatedly qualified as an expert.

9. My clinical consulting fee in this is case is $300 USD per hour.

 
10. In preparing this declaration, I have relied on my clinical interview and evaluation
of Ms. Hicklin on January 27, 2017, the results of psychodiagnostic exams, Ms. Hicklin’s mental
health and medical records, my extensive professional experience, and my review of the medical
literature, including my own, related to gender dysphoria over the past three decades. The
materials I have relied upon in preparing this report are the same types of materials that experts
in my field of study regularly rely upon when forming opinions on the subject.

11. _—_— A true and accurate copy of my Curriculum Vitae is attached hereto as Appendix
A. A bibliography of the materials reviewed in connection with this declaration is attached
hereto as Appendix B.

Background on the Diagnosis and Treatment of Gender Dysphoria

12. Gender Dysphoria (previous nomenclature was gender identity disorder) is a
serious medical condition codified in the International Classification of Diseases do" revision:
World Health Organization) and the American Psychiatric Association’s Diagnostic and
Statistical Manual of Mental Disorders Fifth Edition (DSM-5).

13. Individuals with gender dysphoria, who are often referred to as “transgender” or
“transsexual,” experience incongruence between their innate sense of belonging to a particular
gender and the sex assigned to them at birth, along with clinically significant distress or
impairment of functioning resulting from this incongruence. The suffering that arises from this
condition has often been described as “being trapped in the wrong body.” “Gender dysphoria” is
the psychiatric term for the severe and unremitting emotional pain associated with this condition.

14. The diagnostic criteria for Gender Dysphoria in Adolescents and Adults are as

follows:

 
 

A. A marked incongruence between one’s experienced/expressed gender and assigned
gender, of at least six months’ duration, as manifested by at least two of the
following:

1. A marked incongruence between one’s experienced/expressed gender and primary
and/or secondary sex characteristics (or in young adolescents, the anticipated
secondary sex characteristics).

2. A strong desire to be rid of one’s primary and/or secondary sex characteristics
because of a marked incongruence with one’s experienced/expressed gender (or in
young adolescents, a desire to prevent the development of the anticipated sex
characteristics).

3. A strong desire for the primary and/or secondary sex characteristics of the other
gender.

4. Astrong desire to be of the other gender (or some alternative gender different
from one’s assigned gender).

5. A strong desire to be treated as the other gender (or some alternative gender
different from one’s assigned gender).

6. A strong conviction that one has the typical feelings and reactions of the other
gender (or some alternative gender different from one’s assigned gender).

B. The condition is associated with clinically significant distress or impairment in social,
occupational or other important areas of functioning.

15. Without treatment, individuals with gender dysphoria experience anxiety,

depression, suicidality and other attendant mental health issues (See, e.g., Fraser, 2009; Schaefer

& Wheeler, 2004; Ettner, 1999; Brown, 2000; DSM-V, 2013; Haas, et al., 2014). Without

 
treatment, many gender dysphoric people are unable to adequately function in occupational,
social or other areas of life. A recent survey found a 41% rate of suicide attempts among this
population, which is far above the baseline rates for North America of 4.6% (Haas et al, 2014).

16. | Gender dysphoric individuals without access to appropriate care, particularly
those who are imprisoned, are often so desperate for relief that they resort to life-threatening
attempts at auto-castration (the removal of one’s testicles) in the hopes of eliminating the major
source of testosterone that kindles the dysphoria (Brown, 2010; Brown & McDuffie, 2014).

17. Gender dysphoria intensifies with age. Individuals commonly experience an
intensification of symptoms at midlife, when cortisol rises and breaks down the precursors to
circulating sex steroids (Ettner & Wylie, 2013; Ettner, 2013).

18. The medically accepted standards of care for treatment of gender dysphoria are
set forth in the WPATH Standards of Care (7" version, 2011), first published in 1979. The
WPATH promulgated Standards of Care are the internationally recognized guidelines for the
treatment of persons with gender dysphoria, and inform medical treatment throughout the world.

19. The American Medical Association, the Endocrine Society, the American
Psychological Association, the American Psychiatric Association, the World Health
Organization, the American Academy of Family Physicians, the National Commission of
Correctional Health Care, the American Public Health Association, the National Association of
Social Workers, the American College of Obstetrics and Gynecology and the American Society of
Plastic Surgeons all endorse protocols in accordance with the WPATH standards. (See, e.g.,
American Medical Association (2008) Resolution 122 n(A-08); Endocrine Treatment of

Transsexual Persons: An Endocrine Society Clinical Practice Guideline (2009); American

 
Psychological Association Policy Statement on Transgender, Gender Identity and Gender
Expression Nondiscrimination (2009).)

20. The Standards of Care identify the following treatment protocols for treating
individuals with gender dysphoria, which should be tailored to the patient’s individual medical
needs:

e Changes in gender expression and role (which involves living in the gender role
consistent with one’s gender identity);

e Hormone therapy to feminize or masculinize the body in order to reduce the distress
caused by the discordance between one’s gender identity and sex assigned at birth;

e Surgery to change primary and/or secondary sex characteristics; and

e Psychotherapy (individual, couple, family, or group) for purposes such as exploring
gender identity, role, and expression; addressing the negative impact of gender dysphoria
and stigma on mental health; alleviating internalized transphobia; enhancing social and

peer support; improving body image; or promoting resilience.

21. Once a diagnosis of gender dysphoria is established, individualized treatment
should be initiated.
22. The Standards of Care specify the qualifications professionals must meet in order

to provide care to gender dysphoric patients. In particular, the WPATH Standards of Care
stipulate that a mental health professional must have “[k]nowledge about gender-nonconforming
identities and expressions, and the assessment and treatment of gender dysphoria,” and obtain
continuing education in the assessment and treatment of gender dysphoria. The Standards of
Care establish that professionals who are new to the field should work under the supervision of

mental health professionals with established expertise in this area. Treatment plans generated by

 
providers lacking the requisite experience can result in inappropriate care or place patients at
significant medical risk. (Standards of Care, Section VIII.)

23. The treatment of incarcerated persons with gender dysphoria has been addressed
in the Standards of Care since 1998. As with protocols for the treatment of diabetes or other
medical conditions, medical management of gender dysphoria for incarcerated individuals does
not differ from protocols for non-institutionalized persons.

24. For this reason, the WPATH Standards of Care expressly state that all elements of
the prescribed assessment and treatment are equally applicable to patients in prison, and
appropriate candidates for cross-sex hormonal therapy should not be denied solely on their
institutional status:

The [Standards of Care] in their entirety apply to all transsexual,
transgender and gender nonconforming people, irrespective of their
housing situation. People should not be discriminated against in their
access to appropriate health care based on where they live, including
institutional environments, such as prisons . . . (Brown, 2009). Health care
for transsexual, transgender, and gender nonconforming people living in
an institutional environment should mirror that which would be available
to them if they were living in a non-institutional setting within the same
community. All elements of assessment and treatment as described in the
SOC [Standards of Care] can be provided to people living in institutions
(Brown, 2009). Access to these medically necessary treatments should not
be denied on the basis of institutionalization or housing arrangements. If
the in-house expertise of health professionals in the direct or indirect
employ of the institution does not exist to assess and/or treat people with
gender dsyphoria, it is appropriate to obtain outside consultation from
professionals who are knowledgeable about this specialized area of health
care .. . People with gender dysphoria who are deemed appropriate for
hormone therapy should be started on such therapy... The lack of
initiation of hormone therapy when medically necessary includes a high
likelihood of negative outcomes such as surgical self-treatment by
autocastration, depressed mood, dysphoria and/or suicidality.

(Section XIV.)

 
25. The Standards of Care have also been recognized by the National Commission on
Correctional Health Care (“NCCHC”) as the clinically accepted standards for the care of inmates
with gender dysphoria. (NCCHC Policy Statement, Transgender Health Care in Correctional
Settings (October 18, 2009), available at http://www.ncchc.org/transgender-health-care-in-
correctional-settings.) |

Changes in Gender Expression and Role

26. The Standards of Care establish the therapeutic importance of changes in gender
expression by means of social signifiers that align with gender identity. Clothing and grooming
that affirm one’s gender identity and the use of congruent pronouns, are critically important
components of treatment protocols. (Greenberg and Laurence, 1981; Ettner, 1999; Devor, 2004;
Bockting, 2007.)

27. The Standards of Care also specifically provide that permanent body hair
removal, the elimination of a visible secondary sex characteristic, is significant in alleviating
gender dysphoria. (Section V.)

Hormone Therapy

28. For individuals with persistent, well-documented gender dysphoria, hormone
therapy is an effective, essential, medically indicated treatment to alleviate the distress of the
condition. (Section VIII.)

29. The medical and scientific community concur that hormone therapy, provided in
accordance with the WPATH Standards of Care, is the medically necessary, evidence-based, best
practice treatment modality for most patients with gender dysphoria.

30. The goals of hormone therapy in a transgender female person (i.e., someone

assigned male at birth but whose gender identity is female) are to (1) significantly reduce

 
hormone production associated with the person’s birth sex, causing the unwanted secondary sex
characteristics to recede, and (2) to replace the natal, circulating sex hormones with feminizing
hormones, using the principles of hormone replacement treatment developed for hypogonadal
patients (i.e., those born with insufficient sex steroid hormones). (See Endocrine Treatment of
Transsexual Persons: An Endocrine Society Clinical Practice Guideline; 2009.)

31. The therapeutic effects of hormone are twofold: (1) with endocrine treatment, the
patient acquires congruent secondary sex characteristics, 1.e., for transgender women, breast
development, redistribution of body fat, cessation of male pattern baldness, and reduction of
body hair; and (2) hormones act directly on the brain, via receptor sites, attenuating the gender
dysphoria and attendant psychiatric symptoms, including suicidality, anxiety, depression, and
impulses to engage in auto-castration, autopenectomy, or other acts of self-harm. (See, e.g.,
Cohen-Kettenis & Gooren, 1992.)

32. Decades of scientific research have validated the many benefits of hormonal
therapy for gender dysphoric patients. As early as 1980, researchers demonstrated that gender
dysphoric patients living without hormonal treatment showed greater psychopathology than
patients who received hormonal treatment; and greater adjustment was associated with longer
periods of treatment (Leavitt et al). Untreated patients exhibit much higher levels of depression,
anxiety, and social distress. (Rametti, et al., 2011; see also Colizzi, et al. 2014; Gorin- Lazard et
al., 2011.) Hormonal treatment improves overall health in gender dysphoric patients and is
associated with a better quality of life (Gomez-Gil et al. 2011; Colizzi et al 2013; Gorin-Lazard
et al 2012).

33. The American Medical Association, the Endocrine Society, the American

 
Psychiatric Association and the American Psychological Association also all agree that hormone
therapy is medically necessary treatment for many individuals with gender dysphoria. (See
American Medical Association (2008), Resolution 122 (A-08); Endocrine Treatment of
Transsexual Persons: An Endocrine Society Clinical Practice Guideline (2009); American
Psychological Association Policy Statement on Transgender, Gender Identity and Gender
Expression Nondiscrimination (2009).)
Surgical Interventions

34. |The WPATH Standards acknowledge that while many gender dysphoric
individuals experience profound relief with hormone therapy and changes in gender expression
alone, for others, relief from gender dysphoria cannot be achieved absent gender confirmation
surgery. Such surgical interventions modify primary/and or secondary sex characteristics, and
more than three decades of scientific research have documented the safety and efficacy of
surgical therapy. (See, eg., Pfafflin & Junge, 1998; Smith ef al., 2005; Jarolim et al., 2009.) For
those individuals who require surgical intervention, the Standards of Care set forth the eligibility
and readiness criteria that precede referral. (Section XI.)

Psychotherapy

35. Psychotherapy can provide support for the many issues that arise in tandem with
gender dysphoria. However, psychotherapy alone is not a substitute for medical intervention
when medical intervention is required, nor is it a precondition for medically indicated treatment.
By analogy, counseling can be useful for patients with diabetes by providing psychoeducation
about living with chronic illness and nutritional information, but counseling doesn’t obviate the

need for insulin.

10

 
36. Merely providing counseling and/or psychotropic medication to a severely gender
dysphoric patient is a gross departure from medically accepted practice. Inadequate treatment of
this disorder puts an individual at serious risk of psychological and physical harm (WPATH
Medical Necessity Statement, 2016).

37. Individuals with gender dysphoria often have co-occurring psychiatric disorders.
Such disorders should be treated appropriately, but do not obviate the need for medically
necessary treatment for gender dysphoria.

Clinical Observations

38. At the request of counsel, I met with and conducted an approximately three-hour
clinical assessment of Jessica Hicklin at the Potosi Correctional Facility in Mineral Point,
Missouri on January 27, 2017. The interview took place in a visitors’ area equipped with a table
and chairs, and I was afforded all the necessary courtesies by staff.

39. | Myassessment consisted of a clinical interview and the administration of four
standardized psychodiagnostic tests with high levels of validity and reliability: the Beck
Depression Inventory-II, the Beck Anxiety Inventory, the Beck Hopelessness Scale, and the
Traumatic Symptom Inventory-2.

40. In addition to the clinical assessment, which includes mental and physical history,
behavioral observations and relevant background information, I also conducted a complete sex
and gender history (Pomeroy, Flax & Wheeler, 1982).

Relevant Background History

 

41. Ms. Hicklin was the youngest of three children. Her parents divorced when she
was 6 months old. Her childhood was tumultuous and marked by physical and sexual abuse. An

abundance of research has found that childhood exposure to violence leads to negative outcomes

11

 
 

(Benhorin & McMahon, 2008; Henning et al, 1997; Kliewer et al, 2006; Mazefsky & Farrell,
2005; Sullivan, Kung, & Farrell, 2004; White & Smith, 2009).

42. Ms. Hicklin began using drugs at a young age and entered drug rehabilitation at
13, where she was diagnosed with bi-polar traits, conduct disorder, and poly-substance abuse. At
16, Ms. Hicklin was incarcerated and sentenced to life without parole.

Sexual and Gender History

43. Ms. Hicklin relates that by age 5 or 6 she was sneaking into her stepmother’s and
sister’s closets. Her sister would dress Ms. Hicklin in female clothing, a game they both enjoyed.
Although Ms. Hicklin’s father insisted that she play sports, Ms. Hicklin always preferred female
playmates and activities.

44. From an early age, Ms. Hicklin felt “different” than male peers, having the sense
that her anatomy was “wrong.” As a youngster, understandably, Ms. Hicklin did not know why
these perplexing feelings of gender incongruence arose. Growing up in a small town, she was
even unaware of the existence of “gay people.” She had suffered sufficient abuse, however, to
ensure she conformed to stereotypical gender roles and act “macho.”

45. Ms. Hicklin relates three incidents of sexual assault by other inmates during her
incarceration, and has a history of childhood sexual abuse. She denies paraphilic fantasies. Her
sexual interest is limited to consenting adults.

46. Ms. Hicklin avoids contact with her genitals, and, typical of incarcerated gender
dysphoric individuals without access to care, she has thoughts of removing them. On one
occasion, Ms. Hicklin tried to amputate her testicles with a tourniquet, but was stopped by the

awareness of the consequences--lengthy isolation in administrative segregation (which would,

12

 
among other things, prevent her from having weekly contact with her terminally ill mother) and a
lack of necessary tissue for future surgical treatment.

47. A review of records indicates that providers in the correctional system have
consistently diagnosed Ms. Hicklin with Gender Dysphoria (302.85 in DSM-5).

48. | Many people do not come to the realization that they are transgender or are
suffering from the recognized medical condition of gender dysphoria until later in life. This is
particularly true for people who have been institutionalized from a young age.

Medical History

49. Ms. Hicklin’s medical history is significant for tachycardia and vitamin D
deficiency. During her incarceration she has been prescribed numerous psychotropic
medications. Recently she was prescribed propranolol for tachycardia (propranolol slows heart
rate). Propranolol has no efficacy in the anxiety pertaining to the symptom constellation of
gender dysphoria.

History of Suicidality

50. _‘Ms. Hicklin has a history of suicide ideation and two suicide attempts. At the
behest of the Surgeon General, a plan for identifying populations at risk for suicide, and
advancement of scientific methods to assess risk, has resulted in recent abundant scientific
investigation. Several lines of research suggest that single suicide attempters differ significantly
from multiple suicide attempters. Multiple attempters, and those who engage in method
switching, as Ms. Hicklin has, are far more likely to die by suicide than are single attempters.

Mental Status Exam
51. Jessica Hicklin appeared well groomed, wearing prison-issued garments. At 6

feet, one inch and 175 pounds, with very long hair and shaped eyebrows, she makes an authentic

13

 
and decidedly female presentation. Ms. Hicklin was alert, cooperative, and oriented in all
spheres. She was able to sit comfortably throughout the lengthy interview without a break, and
with no agitation or restlessness. There are no disorders of thought or affect and thought
processes were logical, goal directed and without distortion. Affect was appropriate to context.
Ms. Hicklin maintained eye contact throughout, and rapport was easily established. Speech is
well modulated and in a female range; language is fluent. Memory and abstract reasoning are
well within normal limits. Intelligence (by estimation) is well above average. Ms. Hicklin is a
high-functioning inmate, having used skill and intellect to create and implement various
programs that benefit inmates and the institution.

Psychological Test Results

 

52. Four standardized psychometric indices with high levels of reliability and validity
were administered to corroborate the clinical assessment. Ms. Hicklin experiences moderately
severe depressive symptoms. These include changes in appetite and sleep irritability, loss of
energy, suicidal thoughts, fatigue, and agitation. These symptoms represent somatic and affective
symptoms of depression, not subject to voluntary control or cognitive reappraisal.

53. Research has shown that it is clinically imperative to be attentive to test responses
that indicate suicide ideation; and patients admitting to suicide ideation and pessimism should be
closely scrutinized for suicide potential. Ms. Hicklin scored a 26 on the Beck Depression
Inventory. To put this in context, one study demonstrated that scores of 23 and above were
predictive of patients who ultimately committed suicide.

54. Of equal concern is the high level of anxiety Ms. Hicklin is experiencing.
Symptoms are predominantly somatic and panic-related aspects of anxiety, e.g. “numbness or

39 66

tingling,” “shaky,” “difficulty breathing,” etc. This symptom constellation also appears on

14

 
measures of trauma, and is associated with an overactivation of the sympathetic nervous system,
such as jumpiness, hypervigilance, irritability and sleep disturbance. These scores signal muscle
tension, hyperalertness and hyperreactivity to stress; states that are very aversive and motivate
avoidance strategies, such as self-harm. Ms. Hicklin’s level of responding is at a T score of 73.
To provide context, T scores from 60-64 are considered problematic (i.e., above average
symptom endorsement that is likely to have clinical implications), and those above 65 are
considered clinically elevated (i.e., symptom endorsement that is of sufficient extremity that it
represents a significant clinical concern).

Clinical Assessment

55. Jessica Hicklin has intractable, untreated gender dysphoria (302.85; DSM-5), a
serious medical condition.

56. Given that a high percentage of inmates with untreated gender dysphoria perform
autocastration or commit suicide, lack of appropriate care places her at extremely high risk. This
is compounded by Ms. Hicklin’s other risk factors for self-harm and suicide.

57. Ms. Hicklin has been denied medically necessary treatment, despite a well-
established diagnosis and the recommendation of at least two psychiatrists, as evidenced by
communications to Ms. Hicklin from prison medical staff stating: “You received a mental health
diagnosis of Gender Dysphoria on March 23, 2015. ... You were educated at that time that you
would not receive hormone therapy for this diagnosis.”

58. Medical records show that, instead of medical treatment, Ms. Hicklin is offered
psychotherapy for anxiety—the anxiety that stems from lack of treatment:

The treatment team agrees with the Standards of Care, in regard to mental

health professionals helping clients become psychologically prepared in
every way as they consider hormone therapy. This preparation would also

15

 
include recently being told that you would not receive hormone therapy
treatment and being able to process this news.

This is akin to informing a diabetic patient that they will not be receiving insulin, but a
therapist will assist with processing the distress of diabetic ketoacidosis and coma.

59. The medical records document that lack of appropriate treatment for gender
dysphoria is causing Ms. Hicklin to experience serious psychological and physical symptoms
including panic attacks, anxiety, racing heartbeat (tachycardia), shortness of breath, sleep
disturbance, lack of appetite, headaches, and excessive sweating. She also experiences intrusive
thoughts of cutting off her testicles, and has attempted to amputate them with a tourniquet, as she
realistically worries about the prolonged effects of high levels of circulating testosterone,
knowing it is the source of her anatomical dysphoria.

60. Ms. Hicklin’s symptoms, including the intrusive thoughts about and attempt at
auto-castration, are a priori evidence of severe untreated gender dysphoria, and are the inevitable
and predictable consequences of denying the medically necessary treatment she requires. To
date, no inmate receiving appropriate medical care has attempted auto-castration.

61. Results of psychodiagnostic testing confirm that Ms. Hicklin meets the criteria for
moderately severe depression, with symptoms including changes in appetite and sleep,
irritability, loss of energy, suicidal thoughts, fatigue, and agitation.

62. Ms. Hicklin also experiences a high level of anxiety with predominantly somatic
and panic-related symptoms, including “numbness or tingling,” “shaky,” “difficulty breathing,”
etc. This symptom constellation also appears on measures of trauma, and is associated with an
overactivation of the sympathetic nervous system, such as jumpiness, hypervigilance, irritability
and sleep disturbance. These scores signal muscle tension, hyperalertness and hyperreactivity to

stress; states that are very aversive and motivate avoidance strategies, such as self-harm.

16

 

 
63. | With appropriate medical treatment for gender dysphoria, all of the
aforementioned psychological symptoms would be attenuated or eliminated. Hormones regulate
all bodily functions, and act primarily on the brain. The stimulus for hormone release is complex,
originating in the hypothalamus and prompting the pituitary to act on the endocrine glands: the
thyroid, parathyroid, pancreas, adrenals, and gonads. Those polypeptides then circulate in the
blood stream, acting on organ systems such as the pancreas, to produce insulin, which in turn
acts on a cellular level, mediating the response on target organs. The roles of the hormone insulin
in diabetes, or cortisol in Addison’s disease, are mundane examples of the intricate interplay of
psychological and somatic disorders that rely on precisely titrated hormonal interventions.

64. The Standards of Care are disseminated worldwide for the purpose of issuing
clinical guidance to health professionals who provide treatment. According to the Standards of
Care, if and when an individual meets the criteria for gender dysphoria, a formal diagnosis is
established.

65. Ms. Hicklin meets the diagnostic criteria for gender dysphoria, a fact corroborated
by her medical records. Once a diagnosis is established, medical treatment options are initiated.
The Standards of Care state that individuals “should receive prompt and attentive evaluation,
with the goal of alleviating their gender dysphoria and providing them with appropriate medical
services.” (Section VII.)

66. Ms. Hicklin has not received medical care in accordance with the Standards of
Care. She received a diagnosis, but has been repeatedly denied indicated treatment. Continuing
to withhold essential medical treatment places Ms. Hicklin at risk for irreparable psychological

impairment, self-harm, and suicide.

17

 
67. The records I reviewed corroborate my clinical assessment. At least two prison
psychiatrists have determined that Ms. Hicklin requires medical treatment, i.e., hormonal
therapy. She also requires permanent body hair removal, and access to feminine commissary
items. These psychiatrists have accurately assessed the likely risks of failing to provide
medically indicated treatment: Ms. Hicklin is in imminent danger of severe mental health
deterioration, self-harm, and suicide.

68. Based on records reviewed, including medical records and the court documents
filed to date (including the Defendants’ Answers to Ms. Hicklin’s Complaint), it appears the
Missouri Department of Corrections has a policy or practice of providing hormone therapy only
to those transgender inmates who were receiving such therapy prior to incarceration. This is
commonly referred to as a “freeze frame” policy.

69. The refusal to treat a medical condition because it wasn’t treated or was
improperly treated prior to incarceration is anathema to ethical health care delivery. By analogy,
if a patient is diagnosed with diabetes while incarcerated, is insulin withheld because it wasn’t
provided prior to incarceration?

70. In recognition of the hazards of the “freeze frame” approach, the Standards of
Care explicitly state that a “freeze frame” approach is not considered appropriate care:

People with gender dysphoria who are deemed appropriate for hormone
therapy (following the [Standards of Care]) should be started on such
therapy. The consequences of . . . lack of initiation of hormone therapy
when medically necessary include a high likelihood of negative outcomes

such as surgical self-treatment by auto-castration, depressed mood,
dysphoria, and/or suicidality.

(Section XIV.)

18

 
71. The National Commission on Correctional Healthcare (““NCCHC”) recommends
that the medical management of prisoners with gender dysphoria “should follow accepted
standards developed by professionals with expertise in transgender health,” citing the Standards
of Care. The NCCHC also explains that “policies that make treatments available only to those
who received them prior to incarceration or that limit transition and/or maintenance are
inappropriate and out of step with medical standards and should be avoided.” (NCCHC Policy
Statement, Transgender Health Care in Correctional Settings (adopted October 18, 2009 and
reaffirmed with revision, April 2015), available at http://ncchc.org/transgender-transsexual-and-
gender-nonconforming-health-care.)

72. Refusing to provide appropriate medical care to an individual because they did
not receive treatment prior to incarceration is medically indefensible. Applying such a policy to
Ms. Hicklin’s case is particularly egregious because she entered prison in the 1990s, at age
sixteen. Since evidence-based protocols for treatment of adolescents were not established in the
USS. until 2009 (Hembree), it would have been impossible for Ms. Hicklin to have received
treatment before entering the Missouri Department of Corrections.

Treatment Recommendations

73. The treatment of Ms. Hicklin’s gender dysphoria solely by means of
psychotherapy and/or psychotropic drugs is a gross departure from the evidence-based Standards
of Care.

74. Without proper treatment, Jessica Hicklin is at imminent risk for serious
psychological harm. She is presently overloaded by symptoms that signal a highly disruptive

state. Elevations of autonomic hyperarousal, and dysregulation of mood, left untreated in a

19

 
severely gender dysphoric individual become chronic aversive experiences that devolve into an
ingravescent course.

75. Ms. Hicklin requires immediate initiation of feminizing hormone therapy to treat
the dysphoria, concomitant depression, anxiety, intrusive thoughts of self-harm, and suicidal
ideation. Hormone therapy is the safe, efficacious medically necessary treatment she now
urgently requires. A typical protocol consists of estrogens (transdermal or injectable), anti-
androgens (e.g. spironolactone 100 mg per day) and ongoing monitoring via appropriate
laboratory follow-up. All clinical care should be provided by clinicians with training and
experience in this specialized area of medicine.

76. Once this treatment is initiated, Ms. Hicklin’s ongoing care needs to be monitored
and she should continue to be provided with medically necessary treatment as determined by
appropriate mental health and medical providers who are experienced in the treatment and
management of gender dysphoria.

77. Integral to successful treatment of gender dysphoria is the ability to present as a
female. Therefore, Ms. Hicklin should also be allowed access to items and clothing available to
female inmates, and effective, permanent means of body hair removal. She should be referred to
with congruent gender pronouns, i.e., “she” and “her.”

78. There are no contraindications to the implementation of an appropriate treatment
plan for Ms. Hicklin. The potential consequences of denying treatment, however, are predictable
and grave.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

20

 
Case: 4:16-cv-01357-NCC Doc. #: 64-1 Filed: 04/04/17 Page: 21 of 35 PagelD #: 468

Dr, Randi C: Mimer

Dated: March (4, 2017

 

 

 

 
Case: 4:16-cv-01357-NCC Doc. #: 64-1 Filed: 04/04/17 Page: 22 of 35 PagelD #: 469

Appendix A

 
RANDI ETTNER, PHD

POSITIONS HELD

Clinical Psychologist

Forensic Psychologist

Fellow and Diplomate in Clinical Evaluation, American Board of
Psychological Specialties

Fellow and Diplomate in Trauma/PTSD

President, New Health Foundation Worldwide

Secretary, World Professional Association of Transgender Healthcare
(WPATH)

Chair, Committee for Incarcerated Persons, WPATH

University of Minnesota Medical Foundation: Leadership

Council

Psychologist, Chicago Gender Center

Adjunct Faculty, Prescott College

Editorial Board, International Journal of Transgenderism

Editorial Board, Transgender Health .

Television and radio guest (more than 100 national and international
appearances)

Internationally syndicated columnist

Private practitioner

Medical staff privileges attending psychologist; Advocate Lutheran General

Hospital
EDUCATION
PhD, 1979 Northwestern University (with honors) Evanston, Illinois
MA, 1976 Roosevelt University (with honors) Chicago, Illinois
BA, 1969-73 Indiana University
Bloomington, Indiana
Cum Laude
Major: Clinical Psychology; Minor: Sociology
1972 Moray College of Education
Edinburgh, Scotland
International Education Program
1970 Harvard University

Cambridge, Massachusetts
Social Relations Undergraduate Summer Study Program in Group
Dynamics and Processes

Page 1 of 8

 
CLINICAL AND PROFESSIONAL EXPERIENCE

2016

2011
2000
1995-present

1993

1992

1983-1984

1981-1984

1976-1978

1975-1977

1971

1970-1972

1969-1971

Psychologist: Chicago Gender Center

Consultant: Walgreens; Tawani Enterprises

Private practitioner

Instructor, Prescott College: Gender - A multidimensional approach
Instructor, Illinois Professional School of Psychology

Supervision of clinicians in counseling gender non-conforming clients

Post-doctoral continuing education with Dr. James Butcher in MMPI-2
Interpretation, University of Minnesota

Continuing advanced tutorial with Dr. Leah Schaefer in psychotherapy

Staff psychologist, Women’s Health Center, St. Francis Hospital, Evanston,
Illinois

Instructor, Roosevelt University, Department of Psychology: Psychology of
Women, Tests and Measurements, Clinical Psychology, Personal Growth,

Personality Theories, Abnormal Psychology

Research Associate, Cook County Hospital, Chicago, Illinois, Department of

Psychiatry

Clinical Internship, Cook County Hospital, Chicago, Illinois, Department of
Psychiatry

Research Associate, Department of Psychology, Indiana University

Teaching Assistant in Experimental and Introductory Psychology
Department of Psychology, Indiana University

Experimental Psychology Laboratory Assistant, Department of Psychology,
Indiana University

LECTURES AND HOSPITAL GRAND ROUNDS PRESENTATIONS

Psychiatric and Legal Issues for Transgender Inmates, USPATH, Los Angeles, 2017

Transgender 101 for Surgeons, American Society of Plastic Surgeons, 2017.

Page 2 of 8

 
Healthcare for transgender inmates in the US, Erasmus Medical Center, Rotterdam,
Netherlands, 2016.

Tomboys Revisited: Replication and Implication; Models of Care; Orange Isn’t the New
Black Yet- WPATH symposium, Amsterdam, Netherlands, 2016.

Foundations in mental health; role of the mental health professional in legal and policy
issues, healthcare for transgender inmates; children of transgender parents: WPATH global
education initiative, Chicago, 2015; Atlanta, 2016; Ft. Lauderdale, 2016; Washington, D.C.,
2016, Los Angeles, 2017, Minneapolis, 2017

Pre-operative evaluation in gender-affirming surgery-American Society of Plastic Surgeons,
2015

Gender affirming psychotherapy; Assessment and referrals for surgery-Standards of Care-
Fenway Health Clinic, Boston, 2015

Gender reassignment surgery- Midwestern Association of Plastic Surgeons, 2015

Adult development and quality of life in transgender healthcare- Eunice Kennedy Shriver
National Institute of Child Health and Human Development, 2015

Healthcare for transgender inmates- American Academy of Psychiatry and the Law, 2014

Supporting transgender students: best school practices for success- American Civil Liberties
Union of Illinois and Illinois Safe School Alliance, 2014

Addressing the needs of transgender students on campus- Prescott College, 2014

The role of the behavioral psychologist in transgender healthcare — Gay and Lesbian Medical
Association, 2013

Understanding transgender- Nielsen Corporation, Chicago, Illinois, 2013;

Role of the forensic psychologist in transgender care; Care of the aging transgender patient-
University of California San Francisco, Center for Excellence, 2013

Evidence-based care of transgendered patients- North Shore University Health Systems,
University of Chicago, Illinois, 2011; Roosevelt-St. Vincent Hospital, New York; Columbia
Presbyterian Hospital, Columbia University, New York, 2011

Children of Transsexuals-International Association of Sex Researchers, Ottawa, Canada,
2005; Chicago School of Professional Psychology, 2005

Gender and the Law- DePaul University College of Law, Chicago, Illinois, 2003; American
Bar Association annual meeting, New York, 2000

Page 3 of 8

 
 

Gender Identity and Clinical Issues -WPATH Symposium, Bangkok, Thailand, 2014; Argosy
College, Chicago, Illinois, 2010; Cultural Impact Conference, Chicago, Illinois, 2005; Weiss
Hospital, Department of Surgery, Chicago, Illinois, 2005; Resurrection Hospital Ethics
Committee, Evanston, Illinois, 2005; Wisconsin Public Schools, Sheboygan, Wisconsin,
2004, 2006, 2009; Rush North Shore Hospital, Skokie, Illinois, 2004; Nine Circles
Community Health Centre, University of Winnipeg, Winnipeg, Canada, 2003; James H.
Quillen VA Medical Center, East Tennessee State University, Johnson City, Tennessee, 2002;
Sixth European Federation of Sexology, Cyprus, 2002; Fifteenth World Congress of
Sexology, Paris, France, 2001; Illinois School of Professional Psychology, Chicago, Illinois
2001; Lesbian Community Cancer Project, Chicago, Illinois 2000; Emory University Student
Residence Hall, Atlanta, Georgia, 1999; Parents, Families and Friends of Lesbians and Gays
National Convention, Chicago, Illinois, 1998; In the Family Psychotherapy Network National
Convention, San Francisco, California, 1998; Evanston City Council, Evanston, Illinois 1997;
Howard Brown Community Center, Chicago, Illinois, 1995; YWCA Women’s Shelter,
Evanston, Illinois, 1995; Center for Addictive Problems, Chicago, 1994

Psychosocial Assessment of Risk and Intervention Strategies in Prenatal Patients- St. Francis
Hospital, Center for Women’s Health, Evanston, Illinois, 1984; Purdue University School of
Nursing, West Layette, Indiana, 1980

Psychonueroimmunology and Cancer Treatment- St. Francis Hospital, Evanston, Illinois,
1984

Psychosexual Factors in Women’s Health- St. Francis Hospital, Center for Women’s Health,
Evanston, Illinois, 1984

Sexual Dysfunction in Medical Practice- St. Francis Hospital, Dept. of OB/GYN, Evanston,
Illinois, 1980

Sleep Apnea - St. Francis Hospital, Evanston, Illinois, 1996; Lincolnwood Public Library,
Lincolnwood, Illinois, 1996

The Role of Denial in Dialysis Patients - Cook County Hospital, Department of Psychiatry,
Chicago, Illinois, 1977

PUBLICATIONS

Ettner, R. Pre-operative evaluation in Schechter (Ed.) Surgical Management of the
Transgender Patient. Elsevier, 2017.

 

Berli, J., Kudnson, G., Fraser, L., Tangpricha, V., Ettner, R., et al. Gender Confirmation
Surgery: what surgeons need to know when providing care for transgender individuals. JAMA
Surgery; in press.

Page 4 of 8

 
Ettner, R., Ettner, F. & White, T. Choosing a surgeon: an exploratory study of factors
influencing the selection of a gender affirmation surgeon. Transgender Health, 1(1), 2016.

Ettner, R. & Guillamon, A. Theories of the etiology of transgender identity. In Principles of
Transgender Medicine and Surgery. Ettner, Monstrey & Coleman (Eds.), 2nd edition;
Routledge, June, 2016.

Ettner, R., Monstrey, S, & Coleman, E. (Eds.) Principles of Transgender Medicine and
Surgery, 2nd edition; Routledge, June, 2016.

Bockting, W, Coleman, E., Deutsch, M., Guillamon, A., Meyer, I., Meyer, W., Reisner, S.,
Sevelius, J. & Ettner, R. Adult development and quality of life of transgender and gender
nonconforming people. Current Opinion in Endocrinology and Diabetes, 2016.

Ettner, R. Children with transgender parents in Sage Encyclopedia of Psychology and Gender.
Nadal (Ed.) Sage Publications, 2017

Ettner, R. Surgical treatments for the transgender population in Lesbian, Gay, Bisexual,
Transgender, and Intersex Healthcare: A Clinical Guide to Preventative, Primary, and
Specialist Care. Ehrenfeld & Eckstrand, (Eds.) Springer: MA, 2016.

Ettner, R. Etiopathogenetic hypothesis on transsexualism in Management of Gender Identity
Dysphoria: A Multidisciplinary Approach to Transsexualism. Trombetta, Liguori, Bertolotto,
(Eds.) Springer: Italy, 2015.

Ettner, R. Care of the elderly transgender patient. Current Opinion in Endocrinology and
Diabetes, 2013, Vol. 20(6), 580-584.

Ettner, R., and Wylie, K. Psychological and social adjustment in older transsexual people.
Maturitas, March, 2013, Vol. 74, (3), 226-229.

Ettner, R., Ettner, F. and White, T. Secrecy and the pathophysiology of hypertension.
International Journal of Family Medicine 2012, Vol. 2012.

Ettner, R. Psychotherapy in Voice and Communication Therapy for the
Transgender/Transsexual Client: A Comprehensive Clinical Guide. Adler, Hirsch, Mordaunt,
(Eds.) Plural Press, 2012.

Coleman, E., Bockting, W., Botzer, M., Cohen-Kettenis, P., DeCuypere, G., Feldman, J.,
Fraser, L., Green, J., Knudson, G., Meyer, W., Monstrey, S., Adler, R., Brown, G., Devor, A.,
Ehrbar, R., Ettner, R., et.al. Standards of Care for the health of transsexual, transgender, and
gender-nonconforming people. World Professional Association for Transgender Health
(WPATH). 2012.

Ettner, R., White, T., and Brown, G. Family and systems aggression towards therapists.
International Journal of Transgenderism, Vol. 12, 2010.

Page 5 of 8

 

 
Ettner, R. The etiology of transsexualism in Principles of Transgenger Medicine and Surgery,
Ettner, R., Monstrey, S., and Eyler, E. (Eds.). Routledge Press, 2007.

Ettner, R., Monstrey, S., and Eyler, E. (Eds.) Principles of Transgender Medicine and Surgery.
Routledge Press, 2007.

 

Monstrey, S. De Cuypere, G. and Ettner, R. Surgery: General principles in Principles of
Transgender Medicine and Surgery, Ettner, R., Monstrey, S., and Eyler, E. (Eds.) Routledge
Press, 2007.

 

Schechter, L., Boffa, J., Ettner, R., and Ettner, F. Revision vaginoplasty with sigmoid
interposition: A reliable solution for a difficult problem. The World Professional Association
for Transgender Health (WPATH), 2007, XX Biennial Symposium, 31-32.

Ettner, R. Transsexual Couples: A qualitative evaluation of atypical partner preferences.
International Journal of Transgenderism, Vol. 10, 2007.

White, T. and Ettner, R. Adaptation and adjustment in children of transsexual parents.
European Journal of Child and Adolescent Psychiatry, 2007: 16(4)215-221.

Ettner, R. Sexual and gender identity disorders in Diseases and Disorders, Vol. 3, Brown
Reference, London, 2006.

Ettner, R., White, T., Brown, G., and Shah, B. Client aggression towards therapists: Is it more
or less likely with transgendered clients? International Journal of Transgenderism, Vol. 9(2),

2006.

Ettner, R. and White, T. in Transgender Subjectives: A Clinician’s Guide
Haworth Medical Press, Leli (Ed.) 2004.

White, T. and Ettner, R. Disclosure, risks, and protective factors for children whose parents
are undergoing a gender transition. Journal of Gay and Lesbian Psychotherapy, Vol. 8, 2004.

Witten, T., Benestad, L., Berger, L., Ekins, R., Ettner, R., Harima, K. Transgender and
Transsexuality. Encyclopeida of Sex and Gender. Springer, Ember, & Ember (Eds.)
Stonewall, Scotland, 2004.

Ettner, R. Book reviews. Archives of Sexual Behavior, April, 2002.

Ettner, R. Gender Loving Care: A Guide to Counseling Gender Variant Clients. WW Norton,
2000.

“Social and Psychological Issues of Aging in Transsexuals,” proceedings, Harry Benjamin
International Gender Dysphoria Association, Bologna, Italy, 2005.

Page 6 of 8

 
“The Role of Psychological Tests in Forensic Settings,” Chicago Daily Law Bulletin, 1997.

Confessions of a Gender Defender: A Psychologist’s Reflections on Life amongst the
Transgendered. Chicago Spectrum Press. 1996.

 

“Post-traumatic Stress Disorder,” Chicago Daily Law Bulletin, 1995.
“Compensation for Mental Injury," Chicago Daily Law Bulletin, 1994.

“Workshop Model for the Inclusion and Treatment of the Families of Transsexuals,”
Proceedings of the Harry Benjamin International Gender Dysphoria Symposium; Bavaria,
Germany, 1995.

“Transsexualism- The Phenotypic Variable,” Proceedings of the XV Harry Benjamin
International Gender Dysphoria Association Symposium; Vancouver, Canada, 1997.

“The Work of Worrying: Emotional Preparation for Labor,” Pregnancy as Healing. A Holistic
Philosophy for Prenatal Care, Peterson, G. and Mehl, L. Vol. II. Chapter 13, Mindbody Press,
1985.

 

 

PROFESSIONAL AFFILIATIONS

University of Minnesota Medical School—Leadership Council
American College of Forensic Psychologists

World Professional Association for Transgender Health

World Health Organization (WHO) Global Access Practice Network
TransNet national network for transgender research

American Psychological Association

American College of Forensic Examiners

Society for the Scientific Study of Sexuality

Screenwriters and Actors Guild

Phi Beta Kappa

AWARDS AND HONORS

The Randi and Fred Ettner Transgender Health Fellowship-Program in Human Sexuality,
University of Minnesota, 2016

Phi Beta Kappa, 1971

Indiana University Women’s Honor Society, 1969-1972

Indiana University Honors Program, 9-1972

Merit Scholarship Recipient, 1970-1972

Indiana University Department of Psychology Outstanding Undergraduate Award
Recipient, 1970-1972

Page 7 of 8

 
Case: 4:16-cv-01357-NCC Doc. #: 64-1 Filed: 04/04/17 Page: 30 of 35 PagelD #: 477

Representative, Student Governing Commission, Indiana University, 1970

LICENSE

Clinical Psychologist, State of Illinois, 1980

Page 8 of 8

 
Case: 4:16-cv-01357-NCC Doc. #: 64-1 Filed: 04/04/17 Page: 31 of 35 PagelD #: 478

Appendix B

 
BIBLIOGRAPHY & MATERIALS CONSIDERED
Case Materials provided, including Mental Health and Medical File of Jessica Hicklin

American Psychiatric Association (2013). Diagnostic and Statistical Manual of
Mental Disorders (DSM-5). Washington, D.C. American Psychiatric Publishing.

Beck, A., Epstein, Brown, & Steer (1998). An inventory for measuring clinical
anxiety: Psychometric properties. Journal of Consulting and Clinical Psychology 56,
893-897,

Benhorin, S. & McMahon, S. (2008). Exposure to violence and aggression: protective
roles of social support among urban African American youth. Journal of Community
Psychology, 36:6 723-743.

Bockting, W. (2013). Transgender identity development. In Tolman & Diamond

(eds.) American Psychological Association’s Handbook of Sexuality and Psychology.
Washington, D.C.: American Psychological Association.

Bockting, W. (2014). The impact of stigma on transgender identity development and
mental health. In Kreukels, Steensma, and De Vries (eds). Gender dysphoria and
disorders of sex development: Progress in care and knowledge. New York: Springer.

Bockting, W. & Coleman, E. Developmental stages of the transgender coming out
process: Toward an integrated identity. In Ettner, Monstrey & Eyler (eds.)
Principles of Transgender Medicine and Surgery. New York: Haworth Press.

Bockting, W., Coleman, E., Deutsch, M. Guillamon, A., Meyer, I., Meyer, W., Reisner, S.,
Sevelius, J. & Ettner, R. (2016). Adult development and quality of life of transgender
and gender nonconforming people. Current Opinion in Endocrinology and Diabetes.

Brown, G. (2009) Recommended revisions to the World Professional Association for
Transgender Health’s Standards of Care section on medical care for incarcerated
persons with gender identity disorder. International Journal of Transgenderism, 11.

Brown, G. (2010) Auto-castration and auto-penectomy as surgical self-treatment in
incarcerated persons with Gender Identity Disorder. International Journal of
Transgenderism, 12: 31-39.

Brown, G. & McDuffie, E. (2009) Health care policies addressing transgender
inmates in prison systems in the US. Journal of Correctional Health.

Budge, S., Adelson, J. & Howard, K. (2013). Anxiety and depression in transgender
individuals: The role of transition status, loss, social support, and coping. Journal of
Consulting and Clinical Psychology 81(3): 545.

 
Chung, W., De Vries, G., Swaab, D. (2002). Sexual differentiation of the bed nucleus of
the stria terminalis in humans may extend into adulthood. Journal of Neuroscience
22(3): 1027-1033.

Cohen-Kettenis, P. & Gooren, L. (1992). The influence of hormone treatment on
psychological functioning of transsexuals. In Bockting & Coleman (eds.) Gender

Dysphoria: Interdisciplinary Approaches in Clinical Management. Haworth Press.

 

Colizzi, M. et al. (2014). Transsexual patients’ psychiatric comorbidity and positive
effect of cross-sex hormonal treatment on mental health: Results from a longitudinal
study. Psychoneuroendocrinology 39: 65-73.

Colton Meier, S., Fitzgerald, K., Pardo, S. & Babcock, J. (2011). The effects of
hormonal gender affirmation treatment on mental health in female-to-male
transsexuals. Journal of Gay & Lesbian Mental Health 15(3): 281-299.

Devor, A. (2004). Witnessing and mirroring: A fourteen stage model of transsexual
identity formation. Journal of Gay and Lesbian Psychotherapy 8(1/2): 41-67.

Diamond, L., Pardo, S., Butterworth, M. (2011). Transgender experience and identity.
In Schwartz et al (eds) Handbook of Identity Theory and Research: Springer.

Ettner, R. (2013). Care of the elderly transgender patient. Current Opinion in
Endocrinology and Diabetes, Vol. 20(6), 580-584.

Ettner, R., and Wylie, K. (2013) Psychological and social adjustment in older
transsexual people. Maturitas 74, (3), 226-229.

Ettner, R. (1999). Gender Loving Care. WWNorton: New York.

Ettner, R. & Guillamon, A. (2016). Theories of the etiology of transgenderism. In
Principles of Transgender Medicine and Surgery. Ettner, Monstrey & Coleman (eds).
New York: Routledge.

Fraser, L. (2009). Depth Psychotherapy with transgender people. Journal of Sexual
and Relationship Therapy, 24 (2).

Gomez-Gil, E., Zubiaurre-Elorza, L., Esteva, L, Guillamon, A. et al (2012). Hormone-
treated transsexuals report less social distress, anxiety and depression.
Psychoneuroendocrinology 37(5): 662-670.

Gorin-Lazard, et al. (2011). Is hormonal therapy associated with better quality of life
in transsexuals? A cross-sectional study. Journal of Sexual Medicine, 9: 531-541.

Gooren, L. (2011). Care of transsexual people. New England Medical Journal of
Medicine 364:1251-1257.

 
 

Greenberg, R. & Laurence, L. (1981). A comparison of MMPI results for psychiatric
patients and male applicants for transsexual surgery. Journal of Nervous and Mental
Disease 169(5): 320-323.

Haas, A. & Rodgers, P. (2014) Suicide attempts among transgender and gender
nonconforming adults: Findings of the national transgender discrimination survey.
The Williams institute.

Henning, K., Leitenberg, H., Coffey, P., Bennett, T. & Janowski, M. (1997). Long-term
psychological adjustment to witnessing interparental physical conflict during
childhood. Child Abuse and Neglect, 21:6: 501-515.

Jarolim, L. et al. (2009). Gender reassignment surgery in male-to-female
transsexualism: A retrospective 3-month follow-up study with anatomical remarks.
Journal of Sexual Medicine 6:6: 1635-1644.

Kliewer, W., Murrelle, L., Prom, E., Ramirez, M., Obando, P., Sandi, L. & Karenkeris, M.
(2006). Violence exposure and drug use in Central American youth: family cohesion

and parental monitoring as protective factors. Journal of Research on Adolescence,
16:3: 455-478.

Longo, M., Azanon, E. & Haggard, P. (2010). More than skin deep: body
representation beyond primary somatosensory cortex. Neuropsychologia 48: 665-
668.

Mazefsky, C. & Farrell, A. (2005). The role of witnessing violence, peer provocation,
family support, and parenting practices in the aggressive behavior of rural
adolescents. Journal of Child and Family Studies, 14:1: 71-85.

NCCHC Policy Statement, Transgender Health Care in Correctional Settings.
(October 18, 2009).

Nuttbrock, L, Rosenblum, A. & Blumenstein, R. (2002). Transgender identity
affirmation and mental health. International Journal of Transgenderism 6(4).

Pauly, I. (1992). Terminology and classification of gender identity disorders. In
Bockting & Coleman (eds.) Gender Dysphoria: Interdisciplinary Approaches in
Clinical Management. New York: Haworth.

Pfafflin, F. & Junge, A. (1998). Sex reassignment: Thirty years of international follow-
up studies after sex reassighment surgery, a comprehensive review, 1961-1991.
Jacobson & Meir, Trans.

Pomeroy, W., Flax, C. & Wheeler, C. (1982). Taking a Sex History. McMillan: New
York.

 
Rametti, G. et al (2011). White matter microstructure in female-to-male
transsexuals before cross-sex hormonal treatment: A diffusion tensor imaging
study. Journal of Psychiatry Research 45: 199-204.

Schaefer, L & Wheeler, C. (2004). Guilt in cross gender identity conditions:
Presentations and treatment. Journal of Gay and Lesbian Psychotherapy, 8(1-2).

Singh, A., Hays, D. & Watson. (2011). Strengths in the face of adversity: Resilience
strategies of transgender individuals. Journal of Counseling and Development 89(1):
20-27.

Smith, Y., Van Goozen, S. Kuiper, A. et al (2005). Sex reassignment: Outcomes and
predictors of treatment for adolescent and adult transsexuals. Psychological
Medicine 35(1): 89-99.

Sullivan, T., Kung, E. & Farrell, A. (2004). Relation between witnessing violence and
drug use initiation among rural adolescents: parental monitoring and family
support as protective factors. Journal of Child and Adolescent Psychology, 33:3:488-
498.

White, J. & Smith, P. (2009). Covariation in the use of physical and sexual intimate
partner aggression among adolescent and college-age men: a longitudinal analysis.
Violence Against Women 15:1: 24-43.

World Professional Association for Transgender Health Standards of Care for the
Health of Transsexual, Transgender, and Gender-Nonconforming People, 7 version
(2012).

Weyers, S. et al. (2009). Long-term assessments of the physical, mental and sexual
health among transsexual women. Journal of Sexual Medicine, 6(3): 752-60.

World Health Organization (1992). International Classification of Diseases, 10" ed.

 
